Case 2:05-cr-20103-.]PI\/| Document 21 Filed 07/25/05 Page 1 of 2 Page|D 32

 

IN THE UNITED sTA'rss DIsTRIc'r coURT FIEJBY..-Y..._____D£
Fon THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIvIsIoN QSJUL 25 m 5,1,2
mew`"`!‘=rd'vi. DULD_
US.D|STH§CTUBT

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. 05-20103-Ml

YAW OPARE DIGGS

Defendant.

'~_/-_/~.., -._¢u\_»-._r'~_¢‘-_’V

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on July 22, 2005, the United States
Attorney for this district, Fred Godwin, appearing for the Government and
the defendant, Yaw Opare Diggs, appearing in person and with counsel,
Clifton Harviel, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the Indictment
Additionally, the defendant agreed to forfeit to the United States
$16,000.00 set forth in Count 3.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for FRIDAY, OCTOBER 14, 2005, at 9=00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the £ day of July, 2005.

emc-w

JO PHIPPS MCCALLA
TED STATES DISTRICT JU'DGE

 

' ' ca
Th‘s downward entered on the docket Sheet m comp\\an

‘~ ~ 5' 05'
wm mm ;»= graver 32{@) FstrP on 12 a?

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20103 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

i\/lemphis7 TN 38103

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

